 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.244 Filed 01/04/23 Page 1 of 8


                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION


UNITED STATES OF AMERICA,

       Plaintiff,
                                                    Case No. 2:21-cr-7
v.
                                                    Hon. Hala Y. Jarbou
EDWARD DOUGLAS CORNMAN,

      Defendant.
___________________________________/

                                           OPINION

       Defendant Edward Cornman pleaded guilty to one count of theft of government funds.

(See Plea Agreement, ECF No. 24.) After accepting the plea, the Court sentenced Cornman to an

eighteen-month period of incarceration. (Judgment, ECF No. 45.) Before the Court is Cornman’s

pro se motion to reduce his period of incarceration and have counsel appointed for him. (ECF

No. 52.) The Court will deny Cornman’s motion.

                                    I.     BACKGROUND

       For almost a decade, Cornman knowingly, willfully, and fraudulently deprived the

government of nearly $300,000 in Social Security Income (SSI) and Medicaid benefits. (Plea

Agreement ¶¶ 2-7.) In March 2010, Cornman—then owner and operator of a construction and

excavating company that averaged approximately $200,000 per year in gross revenue—applied

for SSI benefits. (Id. ¶ 7.) In his application, to qualify for SSI and Medicaid benefits, Cornman

concealed his work activities. (Id.) This concealment persisted until the government identified

Cornman’s fraudulent activities in late 2019.      (Id.)   Over this period, Cornman received

$279,832.31 in SSI and Medicaid benefits and $16,508 through the Michigan Food Assistance

Program. (Id.) A grand jury indicted Cornman for, among other things, theft of government funds

in February 2021. (Indictment, ECF No. 1.)
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.245 Filed 01/04/23 Page 2 of 8




       After the grand jury indicted Cornman, he pleaded guilty to theft of government funds,

violating 18 U.S.C. § 641. (Plea Agreement ¶¶ 2-3.) The other charges for which he was indicted

would later be dropped as a part of the plea agreement. (Id. ¶ 8.) The Court accepted Cornman’s

plea. (Order Adopting R&R, ECF No. 28.)

       After the Court accepted Cornman’s plea, Cornman filed two motions regarding his

sentence: (1) a motion seeking a downward departure from the U.S. Sentencing Guidelines (ECF

No. 39), and (2) a motion seeking a downward variance from the advisory guideline range under

the factors listed in 18 U.S.C. § 3553(a) (ECF No. 40). In support of these motions, Cornman

cited his uncontroverted medical ailments:

       His diagnosis is: primary osteoarthritis involving multiple joints, muscle spasms of
       lower extremity, bilateral lower extremity edema, vitamin D insufficiency, anemia
       of chronic disease, chronic pain, long term current use of systemic steroids, status
       post total bilateral knee replacement, status post right hip replacement, [easy
       bruising], pain in both shoulder joints, weight loss, and a left elbow fracture.

(Def.’s Sent’g Mem., ECF No. 38, PageID.117.) Further, Cornman indicated that his wife and

child also suffer from medical ailments, making him the only source of income for his family. (Id.,

PageID.119-120.)

       At sentencing, the Court denied Cornman’s motions.             (Sent’g Tr., ECF No. 54,

PageID.218.) Analyzing the § 3553(a) factors, the Court acknowledged that Cornman had medical

issues and familial challenges. (Id., PageID.216.) But the Court determined, considering the

sustained period of significant benefit fraud and Cornman’s concealment of personal assets, that a

variance or departure was not appropriate. (Id., PageID.216-217.) The Court stressed the need for

a clear message that when a person collects benefits to which they are not entitled, it undermines

the benefits programs’ important ends, requiring courts to impose punishments. (Id., PageID.217.)

And the Court noted that confinement would do just that, and that the significant medical

capabilities of the Bureau of Prisons (BOP) could accommodate Cornman’s medical concerns.


                                                2
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.246 Filed 01/04/23 Page 3 of 8




(Id., PageID.218.) Accordingly, the Court sentenced Cornman to a bottom-of-the-guidelines

eighteen-month term of confinement. (Judgment, ECF No. 45.)

       On March 24, 2022, after serving one month of his sentence, Cornman requested a sentence

reduction and release from confinement. (Def.’s Med. Summ., ECF No. 52-1; Def.’s Email, ECF

No. 52-2.) Cornman again based his request on his medical conditions and familial challenges.

(Id.) His medical conditions are mostly the same as they were at sentencing, except Cornman has

sustained injuries while confined.

       On July 5, 2022, the reviewing warden recommended that the BOP grant Cornman’s

request. (Warden Letter, ECF No. 52-3.) On September 6, 2022, after assessing the warden’s

recommendation, the BOP’s general counsel concluded that Cornman did not qualify for a

reduction in his sentence. (BOP Decision Mem., ECF No. 52-4.) In response, Cornman filed the

instant motion with the Court on November 21, 2022, moving for a reduction in his sentence and

release from confinement under 18 U.S.C. § 3582(c)(1)(A). (ECF No. 52.)

                                      II.     STANDARD

       Since the “dawn of the [American] Republic,” federal district courts have enjoyed vast

discretion when crafting and imposing sentences. Concepcion v. United States, 142 S. Ct. 2389,

2395-96 (2022). But after a sentence is crafted and imposed, the Court’s discretion is cabined, and

it may only modify the sentence when congressionally authorized to do so. 18 U.S.C. § 3582(c);

United States v. Houston, 529 F. 3d 743, 753 n.2 (6th Cir. 2008). One such authorization involves

“compassionate release” sentencing reductions—which are still subject to judicial prudence and

discretion-guiding criteria—under 18 U.S.C. § 3582(c)(1)(A). United States v. Hunter, 12 F.4th

555, 562 (6th Cir. 2021).

       Under 18 U.S.C. § 3582(c)(1)(A)’s framework, the Court may reduce an inmate’s term of

imprisonment upon motion of the BOP. And, since the enactment of the First Step Act of 2018,


                                                3
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.247 Filed 01/04/23 Page 4 of 8




defendants can submit these motions themselves if they first exhaust the BOP’s administrative

process or wait thirty days after the warden receives their release application, whichever is first.

18 U.S.C. § 3582(c)(1)(A). When deciding these motions, the Court contemplates “three criteria:

extraordinary and compelling reasons for release; the § 3553(a) factors; and any applicable policy

statements.” United States v. Tomes, 990 F.3d 500, 502 (6th Cir. 2021). The Court may only grant

the motion if all three criteria militate in favor of release. United States v. Elias, 984 F.3d 516,

519 (6th Cir. 2021). When any of the three criteria are lacking, the Court need not address the

others. Id.; Tomes, 990 F.3d at 502.

                                       III.    ANALYSIS

        The Court can rule on Cornman’s motion. Cornman filed his application for release with

the warden in March 2022 and received a recommendation from the warden on July 5, 2022.

Cornman filed the instant motion on November 21, 2022. Therefore, Cornman waited to file his

motion for at least thirty days after the warden received his release application. The Court does

not find extraordinary and compelling reasons for a sentence reduction. Thus, the Court will

analyze only the first criterion and deny Cornman’s motion.

   A.      Cornman lacks extraordinary and compelling reasons for a reduction in his
           sentence.

        District courts may define “extraordinary and compelling on their own initiative.” Elias,

984 F.3d at 520 (internal quotations omitted). Congress left “extraordinary and compelling”

undefined and tasked the Sentencing Commission with promulgating policy statements that

“describe what should be considered extraordinary and compelling reasons for a sentencing

reduction.” Sentencing Reform Act of 1984, § 217(a), 98 Stat. at 2023. The Sentencing

Commission did just that when it promulgated U.S.S.G. § 1B1.13, which included application

notes describing extraordinary and compelling reasons for reductions. Elias, 984 F.3d at 518. But



                                                 4
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.248 Filed 01/04/23 Page 5 of 8




the enactment of the First Step Act of 2018 introduced an intricate question: Does § 1B1.13 apply

to the newly allowed defendant-initiated reduction-of-sentence motions? Elias, 984 F.3d at 519.

The Sixth Circuit answered no, permitting district courts to exposit their own definitions. Id. at

520.1

        But “the mere fact that defining extraordinary and compelling ‘is left to the district court's

discretion . . . does not mean that no legal standard governs that discretion.’” Hunter, 12 F.4th at

562 (quoting Martin v. Franklin Cap. Corp., 546 U.S. 132, 139 (2005)). The terms bear their

ordinary meaning. Id. At the time § 3582(c)(1)(A) was enacted, “‘extraordinary’ was understood

to mean ‘most unusual,’ ‘far from common,’ and ‘having little or no precedent.’” Id. (citing

Webster’s Third New International Dictionary: Unabridged 807 (1971)). And “‘[c]ompelling’

meant ‘forcing, impelling, driving.’” Id. (citing Webster’s Third New International Dictionary at

463). Additionally, “facts that existed at sentencing cannot later be construed as ‘extraordinary

and compelling reasons’ to reduce a final sentence.” Id. at 570. To do so would “transform[]

§ 3582(c)(1)(A) into an unbounded resentencing statute.” Id.

        With these limiting principles in mind, Cornman’s general medical conditions and familial

challenges are not, as a matter of law, extraordinary and compelling reasons for a sentence

reduction.    Cornman’s myriad medical conditions and familial struggles existed and were

considered at sentencing, where the Court denied a downward departure and variance for his

sentence. (Sent’g Tr., PageID.216.) In fact, Cornman admits that his medical conditions existed

at sentencing. (See Def.’s Mot. for Reduction in Sentence, ECF. No. 52, PageID.172 (listing his




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  To be sure, while not bound to do so, courts can still consider § 1B1.13 when articulating what constitutes an
extraordinary and compelling reason. Tomes, 990 F.3d at 503 n.1.



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 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.249 Filed 01/04/23 Page 6 of 8




medical conditions that existed at sentencing, which he used to support his motions for a downward

departure and variance).)

       True, Cornman presents new instances of medical complications that arose in confinement:

falling and breaking two ribs, rupturing tendons in his wrists, breaking two toes, and increased

pain levels.   (Def.’s Med. Records, ECF No. 58; Def.’s Mot. for Reduction in Sentence,

PageID.178-79; Gov’t’s Resp. Br., ECF No. 55, PageID.234 n.1.) And, unlike Cornman’s medical

conditions that existed at his sentencing, these new instances could be considered extraordinary

and compelling. But the new instances of medical complications that Cornman presents here are

neither extraordinary nor compelling.

       In most cases, for a medical complication to be extraordinary and compelling, the

complication will result from, or be, a terminal illness. See, e.g., Hunter, 12 F.4th at 570

(“[Section] 3582(c)(1)(A)(i) applies, regardless of the length of sentence, to the unusual case in

which the defendant’s circumstances are so changed, such as by terminal illness, that it would be

inequitable to continue the confinement of the prisoner.” (internal quotations omitted)). None of

the new injuries suffered by Cornman are the result of a terminal illness or present such an unusual

case that it would be inequitable to continue his confinement.

       Even against the backdrop of Cornman’s general medical conditions, nonlife-threatening

injuries in confinement—like breaking a bone—are not unusual. Indeed, in a survey conducted

by the Bureau of Justice Statistics, over a quarter of federal inmates reported sustaining injuries

since their admission to confinement. See Medical Problems of Prisoners, Table 6 (June 11, 2021),

https://bjs.ojp.gov/library/publications/medical-problems-prisoners/table6. None of Cornman’s

injuries are extraordinary, life-threatening injuries.




                                                   6
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.250 Filed 01/04/23 Page 7 of 8




        Moreover, Cornman does not present evidence that the BOP cannot treat these injuries and

medical concerns. To the contrary, his medical records indicate that some of his medical concerns

have improved during confinement. (Def.’s Med. Summ., ECF No. 52-1, PageID.186-192.) For

example, the BOP’s medical staff provided treatment that “essentially resolved” and “adequately

controlled” some of his chronic pain. (Id., PageID.191.) Additionally, the BOP’s staff provided

him with medical equipment that he did not use before confinement that “improved his

ambulation” and “nearly resolved” some of his foot issues. (Id.) Simply put, all records presented

to the Court indicate that the BOP can adequately manage Cornman’s complications.

        Finally, Cornman can care for himself and is generally independent. He can eat and bathe

without assistance. (Id., PageID.192.) He can use a telephone, computer, and bathroom without

assistance. (Id.) And he can prepare snacks and transport light loads of laundry without assistance.

(Id.) And although he needs help donning and doffing his shoes, he can dress himself. (Id.)

        Accordingly, because Cornman’s circumstances are not extraordinary or compelling

reasons for a reduction in his sentence, the Court will deny his motion for such a reduction.

   B.      Cornman is not entitled to counsel for his reduction-in-sentence proceedings.

        Cornman has also moved for the appointment of counsel. With few exceptions, there is no

constitutional right to counsel in postconviction proceedings. Pennsylvania v. Finley, 481 U.S.

551, 555 (1987). The appointment of counsel for reduction-in-sentence proceedings is left to the

Court’s discretion. See United States v. Butler, No. 18-CR-20801, 2022 WL 317753, at *6 (E.D.

Mich. Feb. 2, 2022) (citing Finley, 481 U.S. at 555). Here, Cornman managed to write and file

his motion without appointed counsel. And “[b]ecause [Defendant] has not articulated a colorable

claim for compassionate release, the [C]ourt will deny his request for the appointment of counsel.”

United States v. Mullins, No. 06-20015, 2020 WL 5422300, at *3 (E.D. Mich. Sept. 10, 2020).




                                                 7
 Case 2:21-cr-00007-HYJ-MV ECF No. 60, PageID.251 Filed 01/04/23 Page 8 of 8




                                    IV.     CONCLUSION

       For the reasons stated, Cornman’s motion lacks extraordinary and compelling reasons for

a reduction in his sentence. Further, the appointment of counsel is not warranted. Accordingly,

this Court will deny Cornman’s motion. The Court will issue an order consistent with this Opinion.



Dated: January 4, 2023                              /s/ Hala Y. Jarbou
                                                    HALA Y. JARBOU
                                                    CHIEF UNITED STATES DISTRICT JUDGE




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